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UNITED STATES OF AMER|CA,
P|aintiff
Crimina| No. 03-20211-Ma
vs.

JERRY THOMPSON,

Defendant.

ORDER

 

Upon motion of the United States, |T iS HEREBY ORDERED that Counts One,
Two, Three and Four in the indictment in the instant case are dismissed without prejudice.

iT |S SO ORDERED.

/
Dated this 3° “‘ day of -J “‘"A ,2005.

JA%/vl/i_.__

SAMUEL H. |V|AYS, JR.
United States District Judge

 

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AssistantUnited States Attorne§` jj' `., jr ' §

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Honorable Samuel Mays
US DISTRICT COURT

